             Case 5:19-cv-03025-JAR Document 169 Filed 11/16/22 Page 1 of 2




                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF KANSAS

 PAUL GUEBARA,

                 Plaintiff,

                 v.                                                   Case No. 19-3025-JAR-KGG

 FINNEY COUNTY SHERIFF’S
 DEPARTMENT, et al.,

                 Defendants.


                                                     ORDER

         This matter is before the Court on Plaintiff Paul Guebara’s Request for Entry of Default

and Motion for Default Judgment (Doc. 166). A defendant shall serve an answer within twenty-

one days after service of the Complaint.1 Plaintiff has shown that Defendant Gretchen Dowdy

was served, but failed to plead or otherwise defend in this action within twenty-one days of

service.2 When a party fails to plead or otherwise defend, and that fact is made to appear by

affidavit or otherwise, default should be entered against that party.3

         The Court liberally construes Plaintiff’s motion, which was filed pro se,4 as an

application for clerk’s entry of default because a clerk’s entry of default must precede any

motion for default judgment under Fed. R. Civ. P. 55.5 Pursuant to this request, under Fed. R.

Civ. P. 55(a), the Clerk is directed to enter default against Defendant Gretchen Dowdy.




         1
             Fed. R. Civ. P. 12(a)(1).
         2
             See Doc. 157.
         3
             Fed. R. Civ. P. 55(a).
         4
           See Requena v. Roberts, 893 F.3d 1195, 1205 (10th Cir. 2018) (setting forth liberal pleading standard that
applies to pro se filings).
         5
             Fed. R. Civ. P. 55(a).
            Case 5:19-cv-03025-JAR Document 169 Filed 11/16/22 Page 2 of 2




However, where “‘one of several defendants who is alleged to be jointly liable defaults,

judgment should not be entered against [her] until the matter has been adjudicated with regard to

all defendants, or all defendants have defaulted’—this avoids inconsistent liability

determinations among joint tortfeasors.”6 Therefore, to the extent Plaintiff moves for default

judgment against Dowdy, the motion is premature. Upon resolution of the remaining claims in

this case by the Court, Plaintiff may move for default judgment.7

        Dated: November 16, 2022
                                                        S/ Julie A. Robinson
                                                       JULIE A. ROBINSON
                                                       UNITED STATES DISTRICT JUDGE




        6
          Martinez v. Dart Trans, Inc., 547 F. Supp. 3d 1153, 1182 (D.N.M. 2021) (quoting Hunt v. Inter-Globe
Energy, Inc., 770 F.2d 145, 147 (10th Cir. 1985)).
        7
            See, e.g., Jetcraft Corp. v. Banpais, S.A. De C.V., 166 F.R.D. 483, 485 (D. Kan. 1996).




                                                           2
